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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GRATZ COLLEGE,

                         Plaintiff,
                                                                 CIVIL ACTION
                                                                 NO. 14–06966
       v.

SYNERGIS EDUCATION INC.,

                         Defendant.



                                        MEMORANDUM

PAPPERT, J.                                                                      December 30, 2015

       On March 4, 2015, the parties filed with the Court a Stipulated Protective Order (“the

Protective Order,” ECF No. 18) which the Court approved the next day (ECF No. 19). The

Protective Order seeks to prevent “potential third parties” from obtaining access to discovery

materials containing “trade secrets or other proprietary business information.” (ECF No. 18 at

1.) The document’s stated purposes are, inter alia, to expedite the flow of discovery material,

facilitate prompt resolution of disputes over confidentiality, adequately protect material entitled

to be kept confidential and govern the pretrial disclosure and use by the parties of documents and

other information produced during the course of discovery. (Id. at 2.) The Protective Order

expressly applies to pre-trial proceedings and has no application at trial; nothing in the Protective

Order limits use of protected materials in court proceedings. (Id. ¶¶ 10, 16.)

       “Protected Material” is defined as “any Disclosure or Discovery Material that is

designated as ‘Confidential’ or ‘Highly Confidential.’” (Id. ¶ 1.8.) “Confidential” disclosures or

discovery material “contain or are derived from trade secrets or other confidential research,

development, commercial or other non-public information of current commercial value.” (Id. ¶
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1.3.) “Highly Confidential” materials are those of a “highly sensitive commercial nature, such as

. . . confidential trade secrets, research, development, pricing, production, cost, marketing or

customer information, disclosure of which could create an elevated risk of commercial or

competitive harm.” (Id. ¶ 1.4.) Most importantly for present purposes, “[a]ny document that is

filed with the Court that reveals or discloses any Protected Material, unless the Parties otherwise

agree in writing or the Court otherwise orders, shall be submitted under seal.” (Id. ¶ 4.4.)

(emphasis added)

        Before the Court are fifteen separate motions to seal various court filings: ECF Nos. 76,

80, 83, 84, 95, 97, 99, 101, 112, 113, 116, 117, 118, 135, and 137. Aside from No. 76, which

seeks to file under seal Gratz’s Motion for Leave to file a Second Amended Complaint,1 these

motions seek to file under seal documents and information pertaining to the parties’ respective

motions for summary judgment, motions to preclude expert testimony and motions to exclude

from evidence at trial various documents and testimony.2 The Court denies all of the motions.

As explained below, the parties have not provided the Court with any basis or justification for

placing all of the filings under seal in light of the public’s right to access judicial records and

documents.

                                                         I.

        The Third Circuit Court of Appeals, on numerous occasions, has affirmed the public’s

right to “inspect and copy public records and documents, including judicial records and

documents.” United States v. Criden, 648 F.2d 814, 819 (3d Cir. 1981) (quoting Nixon v. Warner

Commc’ns., Inc., 435 U.S. 589, 597 (1978)); see also Leucadia, Inc. v. Applied Extrusion


1
         This motion was denied by the Court on December 29, 2015. (ECF Nos. 131, 132.)
2
         While these motions to seal have been pending, the parties have filed on the public docket redacted copies
of the motions and documents in question, while providing the Court unredacted copies of all motion papers and
exhibits under seal.

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Technologies, Inc., 998 F.2d 157, 161 (3d Cir. 1993). The existence of this right is “beyond

dispute.” Littlejohn v. Bic Corp., 851 F.2d 673, 677–78 (3d Cir. 1988) (quoting Publicker Indus.,

Inc. v. Cohen, 733 F.2d 1059, 1066–67 (3d Cir. 1984)). This serves many beneficial functions:

       The public’s exercise of its common law access right in civil cases promotes
       public confidence in the judicial system . . . . As with other branches of
       government, the bright light cast upon the judicial process by public observation
       diminishes the possibilities for injustice, incompetence, perjury, and fraud.
       Furthermore, the very openness of the process should provide the public with a
       more complete understanding of the judicial system and a better perception of its
       fairness.

Republic of Philippines v. Westinghouse Elec. Corp., 949 F.2d 653, 660 (3d Cir. 1991) (quoting

Littlejohn, 851 F.2d at 678). Additionally, “[a]ccess to civil proceedings and records promotes

‘public respect for the judicial process’ and helps to assure that judges perform their duties in an

honest and informed manner.” Id. (quoting Globe Newspaper Co. v. Superior Court, 457 U.S.

596, 606 (1982)) (citation omitted). The presumptive right to public access applies to “all

material filed in connection with nondiscovery pretrial motions, whether these motions are case

dispositive or not.” Leucadia, 998 F.2d. at 165.

       If a party wishes to rebut this presumption of public access, that party has the burden “to

show that the interest in secrecy outweighs the presumption.” Bank of Am. Nat. Trust & Sav.

Ass’n v. Hotel Rittenhouse Associates, 800 F.2d 339, 343 (3d Cir. 1986). To that end, documents

containing trade secrets or other confidential business information may be protected from

disclosure. See Westinghouse, 949 F.2d at 663 (“The potential effects of the disclosure of

business information that might harm the litigant’s competitive standing may in some cases meet

the burden of [justifying keeping] the judicial record under seal.”) (internal quotation marks

omitted).




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                                                 II.

       The Court is presented with fifteen motions to seal all or part of nineteen documents.

The motions, generally summarized, seek “leave to file under seal certain documents containing

confidential material.” (See, e.g., ECF No. 97.) The parties summarily state that the requests are

“narrowly tailored to seal only those documents and portions of the motions containing sealable

material.” (See, e.g., ECF No. 101.) Other than their own representations that the documents

should be sealed, the parties do not provide any justification as to why the Court should grant the

motions. (See generally ECF Nos. 76, 80, 83, 84, 95, 97, 99, 101, 112, 113, 116, 117, 118, 135,

137.) Without more, the Court lacks the legal basis to seal the documents given the longstanding

presumption toward openness. See Hotel Rittenhouse Associates, 800 F.2d at 343.

       The parties’ ability to label information “confidential” in the discovery process was never

intended to transform litigation in a public forum into a proceeding where all trial related

motions, some of them potentially dispositive, are shrouded in secrecy with intensive redactions

and purported seal orders. The parties seek to rely on the Protective Order to grant them

unilateral control over what is to be kept from public view. The motions to seal merely state that

the “documents . . . as well as the references to those documents . . . contain sealable material.”

(ECF No. 97 at 1.) However, they offer nothing more to satisfy the movant’s burden to

overcome the strong presumption of openness. The parties ask the Court to simply rubber stamp

their own determinations that, for whatever reasons they have, the subject documents and

information cannot be viewed by the public. The Court, obviously, cannot endorse such a

process. See, e.g., Emmanouil v. Roggio, No. CIV A 06-1068, 2007 WL 1174876, at *3 (D.N.J.

Apr. 19, 2007) (“The Court must determine whether the sensitivity of the information meets the




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high burden of sealing under the conditions of this case as they currently exist, rather than

blindly relying on a prior sealing order.”).

       The bar for sealing a document is high. See, e.g., Leucadia, 998 F.2d at 167 (“[C]areful

factfinding and balancing of competing interests is required before the strong presumption of

openness can be overcome by the secrecy interests of private litigants.”); Publicker Indus., Inc.,

733 F.2d at 1073 (discussing the presumption of openness). The moving party “bears the burden

of showing that the material is the kind of information that courts will protect” and that

“disclosure will work a clearly defined and serious injury to the party seeking” to seal the

materials. In re Cendant Corp., 260 F.3d 183, 194 (3d Cir. 2001) (quoting Miller v. Ind. Hosp.,

16 F.3d 549, 551 (3d Cir. 1994) (emphasis added) (internal quotation marks omitted)).

Courts have denied motions to seal based solely on embarrassing information or general

financial records. See, e.g., Pansy v. Borough of Stroudsburg, 23 F.3d 772, 787 (3d Cir. 1994)

(“While preventing embarrassment may be a factor satisfying the ‘good cause’ standard, an

applicant for a protective order whose chief concern is embarrassment must demonstrate that the

embarrassment will be particularly serious.”); Rose v. Rothrock, No. CIV.A. 08-3884, 2009 WL

1175614, at *8 (E.D. Pa. Apr. 29, 2009) (“If mere embarrassment were enough, countless

pleadings as well as other judicial records would be kept from public view.”); Zavala v. Wal-

Mart Corp., No. CIV.A. 03-5309, 2007 WL 2688934, at *7–8 (D.N.J. Sept. 12, 2007) (denying

motion to seal corporate documents, including contracts with outside vendors, that did not

contain “confidential commercially sensitive information”).

       Neither party has demonstrated how the interests in nondisclosure rebut the strong

presumption of openness—in fact, neither party discusses the interests of nondisclosure at all.

(See generally ECF Nos. 76, 80, 83, 84, 95, 97, 99, 101, 112, 113, 116, 117, 118, 135, 137.)



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Rather, the motions to seal are boilerplate requests listing the exhibits the parties seek to shield

from public disclosure. (Id.) The Court, not the litigants themselves, must decide what judicial

documents and records should be shielded from public view. The Court can only make this

important decision after evaluating the materials and considering whether or not the party

seeking to shield the information has met its burden and overcome the presumption against

sealing court records and documents. The moving party’s burden—and the Court’s role—are not

reduced or diminished in any way simply because there is a Protective Order in place governing

discovery.

       On or before January 11, the parties must file on the Court’s public docket unredacted

versions of all filings the parties sought to place under seal. If there are any documents the

parties still believe should be filed under seal consistent with the legal standards articulated in

this Memorandum, each party may file a consolidated motion which articulates, as to each

document, why the interest in secrecy outweighs the presumption of public access. Such

motions, if any, must be filed on or before January 6. An appropriate order follows.




                                                               BY THE COURT:



                                                               /s/ Gerald J. Pappert
                                                               GERALD J. PAPPERT, J.




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